                                        Case 4:20-cr-00266-JST          Document 417        Filed 11/04/24    Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    UNITED STATES OF AMERICA,                           Case No. 20-cr-00266-JST-1
                                                       Plaintiff,
                                   8
                                                                                            ORDER RE GOVERNMENT'S
                                                v.                                          SENTENCING MEMORANDUM
                                   9

                                  10    MICHAEL BRENT ROTHENBERG,                           Re: ECF No. 414
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The government has filed a sentencing memorandum in connection with the sentencing

                                  14   hearing scheduled for November 8, 2024. ECF No. 414. A portion of the memorandum is

                                  15   redacted such that the Court cannot read it. Id. at 4. The government is ordered to comply with

                                  16   Criminal Local Rule 56-1.

                                  17          The memorandum also refers to victim impact statements. Id. at 6. If the government is in

                                  18   possession of such statements, it shall file them forthwith.

                                  19          IT IS SO ORDERED.

                                  20   Dated: November 4, 2024
                                                                                        ______________________________________
                                  21
                                                                                                      JON S. TIGAR
                                  22                                                            United States District Judge

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
